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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,                                   )
                                                     )
       Plaintiff,                                    )
                                                     )
               v.                                    )       CASE NO.: 1:17-cv-01151-MN
                                                     )
WILLIAM SCHELL, IV, DOMINICK                         )
DAFFNER, WORLD CHAMPIONSHIP                          )       JURY TRIAL DEMANDED
PUNKIN’ CHUNKIN’ INC., PUNKIN                        )
CHUNKIN ASSOCIATION, FRANK                           )
PEYTON, FRANK SHADE, TERRY                           )
BEWSTER, DAVID QUIGLEY,                              )
MCCULLEY, EASTHAM &                                  )
ASSOCIATES, INC., WHEATLEY                           )
FARMS, INC., E. DALE WHEATLEY,                       )
JEFFREY T. WHEATLEY, DISCOVERY                       )
COMMUNICATIONS, INC.; STATE OF                       )
DELAWARE; and the STATE OF                           )
DELAWARE (DEPARTMENT OF                              )
NATURAL RESOURCES AND                                )
ENVIRONMENTAL CONTROL).                              )
                                                     )
       Defendants.                                   )
                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission

pro hac vice of Carlos F. Rivera, Esquire to represent plaintiff Suzanne Dakessian in this matter.

Signed: /s/ David W. deBruin

David W. deBruin, Esq. (Del. Bar I.D. No. 4846)
1201 N. Orange Street, Suite 500
Wilmington, DE 19801
Office: 302.660.2744
Attorney for: Plaintiff Suzanne Dakessian

                               ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.

Dated: __________                            _____________________________
                                             Judge Maryellen Noreika

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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the United States District Court,
District of New Jersey and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of
this Court for any alleged misconduct which occurs in the preparation or course of this action. I
also certify that I am generally familiar with this Court’s Local Rules. In accordance with
Standing Order for District Court Fund effective 1/1/05, I further certify that the annual fee of
$25.00 has been paid to the Clerk’s Office upon the filing of this motion.


Signed: /s/ Carlos F. Rivera

Date: October 9, 2018

Carlos F. Rivera, Esquire
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